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                       IN THE UNITED STATES COURT OF APPEALS

                                FOR THE ELEVENTH CIRCUIT
                                  ________________________

                                        No. 22-11232-X
                                   ________________________

DAVID WILLIAMS,
Individually and on behalf of all others similarly situated,
CAROLL ANGLADE,
Individually and on behalf of all others similarly situated,
HOWARD CLARK,
THOMAS MATTHEWS,
MARTIZA ANGELES,

                                                    Plaintiffs - Appellees,

versus

RECKITT BENCKISER LLC,
RB HEALTH (US) LLC,

                                                    Defendants-Appellees,

THEODORE H. FRANK,

                                                Interested Party - Appellant.
                                   ________________________

                           Appeal from the United States District Court
                               for the Southern District of Florida
                                 ________________________


ORDER:

         Counsel please be prepared to discuss the following at oral argument Thursday, March 2,

2023.

                1. In a class action, at least one class representative must have Article III

standing to represent each subclass for each claim. See Prado-Steiman v. Bush, 221 F.3d

1266, 1277 (11th Cir. 2000). When the district court in this case reviewed the class
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settlement, it determined that class representatives lack Article III standing to

complain about products they did not purchase and weighed that “risk factor[]” “in

favor of final approval.” [See R133:45–46] No class representative has alleged that he

or she purchased Neuriva De-Stress. [See R51 ¶¶ 134–158] Be prepared to discuss

whether any of the class representatives has standing to assert claims about Neuriva

De-Stress. See, e.g., Dapeer v. Neutrogena Corp., 95 F. Supp. 3d 1366, 1372–73 (S.D. Fla.

2015); Toback v. GNC Holdings, Inc., No. 13-80526-CIV, 2013 WL 5206103, at *4–5

(S.D. Fla. Sept. 13, 2013).

       2. Plaintiffs who seek injunctive relief must allege an injury that is concrete,

certainly impending, fairly traceable to the challenged action of the defendant, and

likely to be redressed by a favorable decision. See Houston v. Marod Supermarkets, Inc.,

733 F.3d 1323, 1328–29 (11th Cir. 2013); Clapper v. Amnesty Int’l USA, 568 U.S. 398,

409 (2013); Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). Some of the class

representatives in this case allege that they “would like to purchase Defendants’

products if they truly improved brain performance” but that they are “unable to rely

on Defendants’ representations regarding the effectiveness of Defendants’ products in

deciding whether to purchase Defendants’ products in the future.” [See, e.g. , R51

¶ 139] The class representatives allege that the existing Neuriva products are

“worthless,” [see id. ¶ 128], so the allegations about possible future purchases of

effective products must pertain to future products.
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      Be prepared to discuss (1) whether the allegation that class representatives

“would like to purchase Defendants’ products if they truly improved brain

performance” supports a finding of a certainly impending future injury and (2)

whether injunctive relief directed toward existing products is likely to redress the class

representatives’ stated concerns about any future, effective products.




                                                                          DAVID J. SMITH
                                                          Clerk of the United States Court of
                                                            Appeals for the Eleventh Circuit

                                           ENTERED FOR THE COURT - BY DIRECTION
